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                                                                     FILED: March 15, 2021

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                         ___________________

                                               No. 21-1280
                                          (5:13-cv-00066-DSC)
                                         ___________________

        DIANA LOUISE HOUCK

                     Plaintiff - Appellant

        v.

        LIFESTORE BANK; GRID FINANCIAL SERVICES, INC.; SUBSTITUTE
        TRUSTEE SERVICES, INC.

                     Defendants - Appellees


        This case has been opened on appeal.

        Originating Court                          United States District Court for the
                                                   Western District of North Carolina at
                                                   Statesville
        Originating Case Number                    5:13-cv-00066-DSC
        Date notice of appeal filed in             03/12/2021
        originating court:
        Appellant                                  Diana Louise Houck
        Appellate Case Number                      21-1280
        Case Manager                               Emily Borneisen
                                                   804-916-2704




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